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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF INDIANA
                                           INDIANAPOLIS DIVISION

       In Re: COOK MEDICAL, INC.,                                      Case No. 1:14-ml-2570-RLY-TAB
       IVC FILTERS MARKETING, SALES PRACTICES                                   MDL No. 2570
       AND PRODUCTS LIABILITY LITIGATION
       _________________________________________
       This Document Relates to Plaintiff:
              MICHAEL BRUEN
              Civil Case No. 1:17-cv-1413-RLY-TAB

                                ORDER ON MOTION TO WITHDRAW COUNSEL


       Plaintiff’s counsel’s Motion to Withdraw is GRANTED.
       Plaintiff’s counsel, John T. Kirtley, III, and the law firm of Ferrer, Poirot & Wansbrough, are hereby
granted leave to withdraw, and no further action shall be taken by them.
       All notices regarding this case shall be directed directly to Plaintiff at:
       Michael Bruen
       91 Brewster Hill Rd.
       Brewster NY 10509
       Phone: 845-661-5729
       Email: mikeb285@hotmail.com


       Date: 8/31/2021




                                                               ________________________
                                                               United States District Judge



Distribution to all registered counsel of record via the Court’s ECF system.




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